Case 12-21619-reb      Doc 14     Filed 05/10/12 Entered 05/10/12 12:04:59             Desc Main
                                  Document      Page 1 of 1


                      UNITED STATES BANKRUPTCY COURT
                       NORTHERN DISTRICT OF GEORGIA
                            GAINESVILLE DIVISION


IN RE:
THOMAS E. BOUHAN,
           Debtor.                                        Case No. 12-21619

                                   CERTIFICATE OF SERVICE
       This is to certify that I have served a true and correct copy of the Debtor’s Motion
        for Extension of Time to File Schedules, Statement of Financial Affairs, Plan, and
       Other Deficient Filings upon the following parties by U.S. Mail, first-class postage
                                    pre-paid and affixed thereto:



                Nancy J. Whaley
                    Suite 120
           303 Peachtree Center Avenue
             Atlanta, Georgia 30303


 This 10th day of May, 2012.

                                                    Law Office of Will B. Geer
                                             By:    /s/ Will B. Geer
                                                    Georgia Bar Number: 940493
                                                    Attorney for Debtor

1069 Spring St., NW
Suite 200
Atlanta, GA 30309
willgeer@atlbankruptcyhelp.com
